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                                    IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF DELAWARE

        TRUEMAIL TECHNOLOGIES, LLC                      )
                                                        )
                      Plaintiff,                        )          C. A. No.: 17-1474-JFB-SRF
                                                        )
                                   v.                   )          JURY TRIAL DEMANDED
                                                        )
        HUBSPOT, INC.,                                  )
                                                        )
                      Defendant.                        )

                             STIPULATION AND PROPOSED ORDER TO
                           EXTENDING TIME TO RESPOND TO COMPLAINT

                Plaintiff TrueMail Technologies, LLC (“Plaintiff”) and Defendant Hubspot, Inc.

         (“Hubspot”), by and through their undersigned counsel, hereby stipulate, subject to approval by

         the Court, that Hubspot’s time to move, answer or otherwise respond to the Complaint shall be

         extended through and including March 16, 2018, to permit further investigation of the matters

         alleged in the Complaint.

      FARNAN LLP                                            YOUNG CONAWAY STARGATT & TAYLOR, LLP
           /s/ Brian E. Farnan                                      /s/ Melanie K. Sharp
      ___________________________________                   ____________________________________________
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      Attorneys for TrueMail Technologies, LLC              Attorneys for Hubspot, Inc.

      Dated: March 9, 2018

         SO ORDERED this _________ day of ______________, 2018.



                                                             United States District Judge

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